                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                                   1:10MJ70-DSC

UNITED STATES OF AMERICA

      v.                                                     ORDER

GREGORY K. YOUNG, II,

                   Defendant.


       THIS MATTER is before the Court on the “Motion to Dismiss-Complaint and Warrant”

(document #5), filed December 16, 2010. For the reasons stated therein, the Motion is GRANTED,

that is, the above-captioned Complaint and Warrant are dismissed without prejudice as to this

Defendant only.

       The Clerk is directed to certify copies of this Order to the U.S. Attorney’s Office, U.S.

Marshals Service and the U.S. Probation Office.

       SO ORDERED.

                                               Signed: December 16, 2010




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